                               IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

    Catherine Brown, individually, and as                      )
    next friend of the minors G.B. and T.B.,                   )
                                                               )     Case No.: 15 cv 4127
          Plaintiffs,                                          )
                                                               )
                     v.                                        )
                                                               )     JUDGE BLAKEY
    Police Officers Michelle Morsi, Jose                       )
    Lopez, Jason Vanna, J.R. Hickey, Star                      )
    No. 11523, L.F. Hill, Star No. 16047, J.M.                 )
    Daisy, Star No. 10982, Navia, Star No.                     )
    7390, McMahon Star No. 17102, Ho Star                      )
    No. 7995, Chevelier Star No. 7206, John                    )
    Blahusiak, Detective Michelle Moore-                       )
    Grose, Detective William Sullivan,                         )
    Detective Bryan Neely, Sgt. Durham Star                    )
    No. 1803, Sgt. J. Brown Star No. 1133,                     )
    Sgt. Greer, Star No. 1316, Sgt. R. Blas,                   )
    Star No. 1248, and the City of Chicago,                    )
                                                               )
          Defendants.                                          )

      PLAINTIFFS’ LOCAL RULE 56.1 STATEMENT OF UNCONTESTED MATERIAL
                            FACTS IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


           1.        This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331, and 1367. (Ex. A, ¶ 1)1

           2.        Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district. (Ex. A, ¶ 2)




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    All citations refer to the exhibits included in Plaintiff’s Appendix of Exhibits.
           3.       At all times herein mentioned, Chicago Police Officer Michelle Murphy

(“Murphy”)2 was employed by the Chicago Police Department and was acting under color of

state law and as the employee, agent or representative of the Chicago Police Department. (Ex. A,

¶¶ 7)

           4.       Murphy has been a Police Officer employed by the Chicago Police Department

since March, 2006. (Ex B, pg. 10)

           5.       Plaintiff Catherine Brown is the mother and custodial parent of Plaintiffs G.B. and

T.B. who are minors born in 2004 and 2011. (Ex. C, pg. 36)

           6.       On May 13, 2013, the three Plaintiffs were in an automobile traveling through an

alley located at approximately 8320 S. Kerfoot in the City of Chicago. (Ex. A, ¶ 26)

           7.       At that approximate location Plaintiffs’ vehicle encountered a Chicago Police

Department squad car containing Defendants Lopez and Murphy traveling through the alley in the

opposite direction. ( Ex. A, ¶ 27)

           8.       At the time the two vehicles met in the alley Defendants Lopez and Murphy were

not responding to an emergency, had not activated their siren, and had not activated the emergency

lights on the roof of their squad car. (Ex. A, ¶28)

           9.       Plaintiffs’ vehicle backed out of the alley and onto Kerfoot. ( Ex. C, pg. 164, 227)

           10.      Plaintiff’s vehicle came to a stop next to, or made slight contact with, a car parked

on Kerfoot. (Ex. B, pg. 78; Ex. C, pg. 178, 180)

           11.      Murphy then decided to intentionally cause a collision between the Chicago Police

Department squad car she was operating and the stopped vehicle containing Plaintiffs. (Ex. B, pg.

79)



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    At the time of the incident her last name was Morsi, but has since changed to Murphy.


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        12.      Murphy then intentionally caused the front of her Chicago Police Department squad

car to collide with the front of Plaintiffs’ vehicle. (Ex. A, ¶ 37; Ex. B, pg. 79)

        13.      Before intentionally causing this collision Murphy knew that the minor Plaintiffs

T.B. and G.B were in the vehicle and she estimated their ages to be “an infant” and “less than ten

years old.” (Ex. B, pg. 40)

        14.      Murphy testified that she intended to collide with Plaintiffs’ vehicle so that

Plaintiffs’ car could not “flee the scene or strike anybody else.” (Ex. B, pg. 80) She did not cause

the collision in order to disable Plaintiffs’ vehicle. (Ex. B. pg. 80, ln. 1-3, pg. 81, ln. 1-3)

        15.      Murphy admits that she could have prevented Plaintiffs’ vehicle from fleeing the

scene in the same manner by simply parking her squad car in front of Plaintiffs’ vehicle. (Ex. B, pg.

80, ln. 12-16)

        16.      All three Plaintiffs were still inside their vehicle at the time of the collision. (Ex. A, ¶

39)

        17.      At the time of the collision the driver’s side door of the Plaintiffs’ vehicle was

already open. (Ex. B, pg. 81, ln.20-23)

        18.      Murphy estimates that she was traveling less than 30 miles per hour when she

caused this collision. (Ex. B, pg. 161)

        19.      The force of the collision caused Plaintiffs’ vehicle to be pushed into a parked

vehicle. (Ex. B, pg. 81-82)


        20.      Murphy had never been trained that it was appropriate to intentionally cause a

vehicular collision under these circumstances. (Ex.B, pg. 24-25)

        21.      Sergeant Jason Brown has been employed by the Chicago Police Department

since 1997, and has been assigned to several different positions within the Chicago Police



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Department. (Ex. D, pg. 5, 6, 7-9) Sergeant Brown testified that the Chicago Police Department

does not teach or use any technique that involves police officers using squad cars to intentionally

collide with another vehicle. (Ex. D, pg. 83-84)

         22.   A video recording of this incident taken from Murphy’s squad car captured the

collision between the squad car operated by Murphy and the vehicle containing Plaintiffs. (Ex.

E)

         23.   At approximately 9:39 minutes into the video recording the squad car operated by

Murphy travels through the alley at a high rate of speed. (Ex. E, at 9:39 minutes)

         24.   At approximately 9:56 minutes into the video recording the vehicle containing

Plaintiffs can be seen stopped next to a parked car. (Ex. E, at 9:56 minutes)

         25.   At approximately 9:57 minutes into the video recording the squad car operated by

Murphy strikes the front of Plaintiffs’ vehicle causing a front-end collision between the two

vehicles. (Ex. E, at 9:57 minutes)

         26.   At approximately 10:33 minutes into the video recording Murphy’s hand is

visible on the right side of the screen spraying OC spray at Plaintiffs. (Ex. E, at 10:33 minutes)

         27.   At approximately 11:06 minutes into the video Murphy again sprays OC spray at

Plaintiffs for a second time. (Ex. E, at 11:06 minutes; Ex. B, pg. 86)

         28.   At approximately 11:21 minutes into the video Murphy jumps on top of a parked

car and points her handgun at Catherine Brown who is a few feet away. (Ex. E, at 11:21 minutes)

         29.   At approximately 11:49 several male Chicago Police Officers grab Catherine

Brown, lift her onto the hood of a parked vehicle and then push her to the ground. (Ex. E, at

11:49)




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       30.    In log number 1067407, Murphy accepted a 30-day suspension from the Chicago

Police Department for falsely accusing three innocent young men of committing an armed

robbery. (Ex. F)


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